                                                   ~i~ND~[ENT l~To. ~

                                                               TAD

                                            Sc~~~ of i,~~v P~^ecEn~ ~a~                a~~

                                                           ~~t~een

                                           L         ~ ~~~`c~EYtS~'I`Yg ~~n

                                                              ~~a~

                                               1~~ R',HJ1PS £L'~R11\L` LM7y .YtV i.•



 'Phis A~tea~dm~nt 3~Yo.1 is issued to t ae Priceng .Proposal dated November 2~, 21917 (flr~e~einai~r "Pr~posai")
 between Midis Partners, Inc. (hsreia~~#'ter "MPI"), and Liberty University, Ia'c. (fcerennafter "Liberty"), and
 is hereby go~err~e~ by time Master Ptarct►asing Agreement dated March 20, 2015 (the "~~reerra~t").

 ~'h'he ~'arties agree to ~meaad ~e Frogosa4 as follows:

         1. On page 2, the monthly a-e~ainer of $1,000 per monfih to cover meetings ~aad accoaant services
            shall continue throe December 31, 2017._
         2. ~ }age 2, tyre "do not exceed" crea4~ve budget number of $35,716.82 shall be increased by
             301000.
         3. On page 2, the "do not e~.ceed" budget of 5192,885.U6 sd~s~l be increased by ~122,~14.67.

 Ttie undersi~eti certify ths,~ ~tey hive read and accept this Amendment l~io. 1 to t~~ Proposal.

 Y+~~a~A Fi   8J17aYiL~iY Hy AlYtl...                                      dYx m,81'it9 Y"t3l1`~i1V.GT47'Y1V~.



                                                                           ~~ o                ~ --~,~..~




                                                                                               l~ ~ i~
                                                                                             --~




                                                                                                                      EXHIBIT
                                                                                                                 d

Case 6:20-cv-00002-NKM Document 1-3 Filed 01/03/20 Page 1 of 1 Pageid#: 32
                                                                                                                 ~°    3
